L. V. ESTES, INC., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.L. v. Estes, Inc. v. CommissionerDocket No. 45059.United States Board of Tax Appeals22 B.T.A. 806; 1931 BTA LEXIS 2066; March 18, 1931, Promulgated *2066  In its income tax return for 1926, the petitioner deducted from gross income an addition to a reserve for bad debts in lieu of the debts ascertained to be worthless and charged off within the year.  In its returns for 1924 and 1925 it also deducted an addition to a reserve for bad debts.  In its returns for 1921 and 1922 it deducted from gross income debts ascertained to be worthless and charged off within the year.  Held, that the petitioner is not entitled to deduct from gross income of 1926 an addition to a reserve for bad debts.  C. S. Cole, Esq., for the petitioner.  S. P. Pierson, Esq., for the respondent.  SMITH *806  This is a proceeding for the redetermination of a deficiency in income tax for 1926 of $1,611.51.  The only issue is whether the respondent erroneously disallowed the deduction from gross income of $8,231.63 representing the difference between the addition to a reserve for bad debts claimed as a deduction and the amount of debts ascertained to be worthless and charged off within the year.  FINDINGS OF FACT.  In its income tax returns for 1921 and 1922, the petitioner deducted from gross income debts ascertained to be*2067  worthless and charged off within the year of $4,643.45 and $3,044.92, respectively.  In its return for 1923, it claimed the deduction from gross income of $7,882.10 for bad debts.  The credits to its bad debt allowance account *807  in 1923 amounted to $19,290.21 and the debits to $12,882.10.  The balance in the account at the close of the year was $6,000.  In 1924, 1925, and 1926, the credits to the bad debt allowance were $6,011.72, $6,000, and $9,000, respectively.  In its returns for those years the petitioner claimed the deduction of $6,000, $6,000, and $9,000, respectively.  The amount of debts ascertained to be worthless and charged off within the calendar year 1926 was $768.37.  The Commissioner in the audit of the petitioner's tax return for 1926 allowed the deduction from gross income of $768.37 for debts ascertained to be worthless and charged off, but disallowed the deduction of the balance in the computation of the deficiency.  OPINION.  SMITH: Section 234(a)(5) of the Revenue Act of 1926 permits the deduction from the gross income of a corporation of: Debts ascertained to be worthless and charged off within the taxable year (or in the discretion of the Commissioner, *2068  a reasonable addition to a reserve for bad debts); * * * Article 151 of Regulations 69, promulgated under the provisions of the Revenue Act of 1926, provides in part: Taxpayers were given an option for 1921 to select either of the methods mentioned for treating such debts.  [(1) by a deduction from income in respect of debts ascertained to be worthless in whole or in part; or (2) by a deduction from income by a reserve for bad debts.] (See article 151, Regulations 62.) The method used in the return for 1921 must be used in returns for subsequent years and for returns under the Revenue Act of 1926 unless permission is granted by the Commissioner to change to the other method.  * * * Application for permission to change the method of treating bad debts shall be made at least 30 days prior to the close of the taxable year for which the change is to be effective.  * * * Article 155 of the same regulations provides in part: * * * Taxpayers who have, prior to 1925, established the reserve method of treating bad debts and maintained proper reserve accounts for bad debts, or who, in accordance with article 151, or upon securing permission from the Commissioner, adopt the reserve*2069  method of treating bad debts, may deduct from gross income a reasonable addition to a reserve for bad debts in lieu of a deduction for specific bad debt items.  The petitioner from its books of account has prepared a computation which shows the credits and debits to an account called "Bad Debt Allowance" and "Reserve for Bad Debts." A similar acount has been maintained by the petitioner from 1917.  The petitioner's balance sheets at different dates have reflected the balance of this account.  In making its income tax returns for 1921 and 1922, the petitioner deducted not an addition to a reserve for bad debts, but the *808  amount of debts ascertained to be worthless and charged against the reserve within the year.  Apparently for years subsequent to 1922 the petitioner has claimed the deduction of the addition to the reserve.  Only the year 1926 is before us.  Under the Commissioner's regulations, the petitioner not having adopted the bad debt reserve method of treating its bad debts for the years 1921 and 1922, and not having, so far as the record shows, secured the permission of the Commissioner to change from an actual bad debts charge-off to a reserve for bad debts method, *2070  it is not entitled to deduct from the gross income of 1926 an addition to a reserve for bad debts, but is entitled to deduct only the debts ascertained to be worthless and charged off within the year.  The respondent has allowed the petitioner such deduction.  The action of the respondent in disallowing the deduction of $8,231.63 of the amount claimed as an addition to a bad debt reserve is sustained.  : ; ; . Judgment will be entered for the respondent.